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Magistrate Judge Donohue

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AT SEATTLE
CLERK U.S. DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
BY DEPUTY

_ UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, CASE NO. MT 09- 57 4
Plaintiff, COMPLAINT for VIOLATION
Vv. Title 18, U.S.C.

Section 1038

09-MJ-00579-CMP

JASON STEADMAN,
Defendant.

BEFORE, JAMES DONOHUE, United States Magistrate Judge, U. S. Courthouse,
Seattle, Washington.

The undersigned complainant being duly sworn states:
COUNT 1
(Sending Threatening Hoax Letters)

On or about October 3, 2009, at Seattle, within the Western District of
Washington, JASON STEADMAN knowingly did engage in conduct with intent to
convey false or misleading information, where such information may reasonably be
believed and where such information indicated that an activity has been, is taking, or will
take place that would constitute a violation of Section 2332a of Chapter 113B
(Terrorism)) of Title 18 United States Code, to wit: mailing a letter, through the United
States Post Office, from Seattle, Washington to the Seattle Times Office, Seattle

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Washington, which contained a white powdery substance which reasonably led the
recipient to believe that the substance was a biological agent and toxin capable of causing
death and other biological malfunction in a human.

All in violation of Title 18, United States Code, Section 1038(a)(1).

COUNT 2
(Mailing Threatening Communications)

On or about October 3, 2009, at Seattle, within the Western District of
Washington, JASON STEADMAN knowingly, did cause to be sent and delivered by the
Postal Service according to the direction thereon, a written communication, addressed to
G.A. containing a threat to injure the person of G.A., that is, kill him.

All in violation of Title 18, United States Code, Section 876(c).

COUNT 3
(Mailing Threatening Communications)

On or about October 3, 2009, at Seattle, within the Western District of
Washington, JASON STEADMAN knowingly, did cause to be sent and delivered by the
Postal Service according to the direction thereon, a written communication, addressed to
L.B. containing a threat to injure the person of L.B., that is, kill him.

All in violation of Title 18, United States Code, Section 876(c).

COUNT 4
(Mailing Threatening Communications)

On or about October 3, 2009, at Seattle, within the Western District of Washington,
JASON STEADMAN knowingly, did cause to be sent and delivered by the Postal Service
according to the direction thereon, a written communication, addressed to J.T. containing
a threat to injure the person of J.T., that is, kill him.

All in violation of Title 18, United States Code, Section 876(c).

COUNT 5
(Mailing Threatening Communications)
On or about October 3, 2009, at Seattle, within the Western District of Washington,

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JASON STEADMAN knowingly, did cause to be sent and delivered by the Postal Service
according to the direction thereon, a written communication, addressed to MLS.
containing a threat to injure the person of M.S., that is, kill him.

All in violation of Title 18, United States Code, Section 876(c).

And the complainant states that this Complaint is based on the following
information:

I, K. Erika Jensen, being first duly sworn on oath, depose and say:

1. I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI)
and have been so employed since September 2008. Prior to my employment with the FBI
I worked in various areas of biology ranging from research, continuing medical education
and laboratory work. I am currently assigned to the Seattle Division of the FBI. [ama
Weapons of Mass Destruction (WMD) assistant coordinator on the domestic terrorism
squad which contributes to the Joint Terrorism Task Force.

2. This complaint is based on my own investigation, as well as information
provided to me, and my review of reports prepared by, other law enforcement personnel.
This complaint does not include everything I learned during the investigation, but only
that information sufficient to show probable cause. .

3. In early October 2009, the FBI began investigating the defendant, Jason
Steadman, for a series of harassing and threatening acts against the Seattle Times
newspaper (hereafter "Seattle Times") and employees of Penske Logistics (hereafter
"Penske" ). Steadman is an employee of Penske. I learned the following from the Seattle
Times:

a. On July 18, 2008, Jason Steadman began employment with the
Seattle Times. On October 31, 2008, Steadman was hired as a driver for Penske
Logistics. On May 3, 2009, Steadman accepted a position as dock clerk with Penske.

b. On September 8, 2009, Steadman was injured on the job at a drop
site located at 130 E. Fairhaven Avenue, Burlington, Washington. Steadman provided a
handwritten injury report to his supervisor detailing the events of his injury. After

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reviewing the incident, Penske determined that Steadman contributed to his injury by
committing a safety violation.

Cc. On September 19, 2009, Alfred Groves and Gary Pennock, both
supervisors at Penske Logistics, gave Steadman a five day suspension from work and a
final written warning for the safety violation. Steadman was unhappy with this
suspension.

d. Following this suspension, on September 25, 2009, Steadman filed
numerous grievances toward Penske through the Teamsters Local Union no. 174. The
grievances filed included a request for the following: to restore his employee dock ~
coordinator duties; change work schedule; take state mandated lunch breaks; maintain
safe working conditions at drop sites; and request for suspension be removed due to lack
of just cause.

e. On October 5, 2009, it was discovered that someone had vandalized
the bathrooms in the VMF by stuffing paper towels in the sink drain and the toilet bowls.
The person then intentionally left the sink faucets running so as to cause a flood.

f. On October 9, 2009, Penske Logistics had conducted an internal
investigation related to the bathroom damage mentioned above. This investigation
focused attention on the last employees to leave the building the morning of October 5,
2009.

g. In reviewing the security video for the VMF, Penske learned that
Steadman was the last person to go upstairs to the second floor where the bathroom sinks
had been clogged with towels. Key access records at the VMF showed Steadman as the
last person inside the VMF before the vandalism was discovered on the morning of ©
October 5, 2009.

h. On October 9, 2009, Steadman was interviewed about the events of
October 5, 2009, by Gary Pennock and Alfred Groves, supervisors for Penske. During
the interview, Steadman stated that he could not remember that night and refused to
answer any more of Pennock and Groves' questions. Following the interview, Pennock

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and Groves informed Steadman that he was suspended as a result of this meeting until the
investigation was concluded.

i. On October 10, 2009, Penske received signed statements from Barry
Merritt and Jeffrey Mitchell from their investigation of the VMF bathroom incident. Both
employees reported that at approximately 4 a.m. on October 5, 2009, there was no
damage to the bathrooms and Jason Steadman was the last employee at the VMF that
night.

4, On October 5, 2009, the Seattle Times received a threat letter at their post
office box in Seattle, Washington. The envelope contained an unknown white powder and
a typed letter which appeared to have been typed on a computer. The letter read:

I WILL KILL YOU-

Don't Fuck with the Penske logistics mother fucker.
Thanks,

Gary Pennock, Alfred Groves, Timothy Otis, Richard
Halos, Courtney Crouch.

5. The sender had handwritten on the envelope, in blue ink, "Seattle Times,
P.O. Box 70, Seattle, WA 9811." The letter was discovered when a mail clerk at the
Seattle Times main office located at 1120 John Street, Seattle, Washington, opened the
letter.

6. The Seattle Police Department and the Seattle Fire Department's Hazardous
Materials Response Team responded to the Seattle Times' office. The Seattle Times mail
room was evacuated and access was closed to that area until cleared by the Hazmat Team.

7. The threat letter was mailed in a legal sized envelope which had a first
class, Forever, United States postage stamp with a Liberty Bell. The envelope was date
stamped "03 OCT 2009 PM 3L" indicating it was processed by the United States Postal
Service on that date.

8. The Seattle Fire Department Hazardous Materials Team conducted a series
of field tests indicating that the material was not harmful and likely a carbohydrate. With

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coordinated direction from the FBI WMD Operations Unit II, the envelope, letter and
white powder sample were packaged and transported by Seattle FBI assistant WMD
coordinators to the Washington State Department of Health (WSDORH) laboratory at 1610
NE 150th Street, Shoreline, Washington for further analysis. It was subsequently
determined that the substance was cornstarch.

9. Approximately three hours, after the discovery of the first threat letter, the
FBI was contacted by the Seattle Times and informed that four other letters had been
received at the VMF in Bothell, Washington. These four letters contained an unknown
powder substance.

10. The Seattle Times was instructed to call 911 and request response from the
Fire Department HazMat team and the police department. The four unopened envelopes
had been contained in a plastic bag and were isolated in a closed office. Todd Bailey, of
the Eastside HazMat Team, conducted a radiological test and explosives test of the letters
without removing them from the bag or opening the envelopes. The letters tested non
explosive and non radiological.

11. | These four letters were addressed to the Seattle Times at the Bothell,
Washington address with attention to four individuals: G.A., L.B., J. T., and MS.,
respectively. These individuals were later identified as managers of respective
departments at the facility for The Seattle Times and Penske Logistics.

12. Similar to the first letter, these letters were mailed in a legal sized envelope
which had a first class, Forever, United States postage stamp with a Liberty Bell. The
envelopes were date stamped "03 OCT 2009 PM" from Seattle, Washington. The
handwriting on these envelopes was similar to the first envelope which contained the
threat letter received earlier that day by the Seattle Times. Also, each of these envelopes
contained a letter identical to the first threat letter received by the Seattle Times. These
letters also appeared to have been produced from a word processing program on a
computer.

13. The envelopes were packaged and transported to the WSDOH laboratory

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for further analysis. The WSDOH laboratory informed the Seattle FBI that the
preliminary tests on the white powder substance in the first letter indicated the substance
was cornstarch.

14. On October 6, 2009, the Seattle FBI received a telephone call again from
the Seattle Times located at 1120 John Street, Seattle, Washington. The Seattle Times
stated that a single envelope similar to the previous envelopes was received at their
facility. Seattle Fire Department/ HazMat Team and Seattle Police Department were
already on scene when the WMD assistant coordinators arrived. The envelope was
addressed to Seattle Times, 1120 John Street, Seattle, Washington, 98109. The letter was
mailed in a legal sized envelope which had a first class, Forever, United States postage
stamp with a Liberty Bell. The envelope was date stamped "03 OCT 2009 PM" from
Seattle, Washington. The handwriting on this envelope was similar to the handwriting on
the previous five threat letter envelopes. This envelope contained a typed written letter
with the identical message as the original letter received by the Seattle Times located
downtown. This letter also appeared to have been produced by a word processing
program on a computer.

15. On this date, Steadman had called in another personal day for his scheduled
shift and notified Gary Pennock that he was filing a lawsuit against Horton's Drug Store
(130 E. Fairhaven Avenue, Burlington, Washington) for poor lighting conditions.

16. The Seattle Fire Department conducted a series of field tests indicating that
the material was not harmful. The envelope was packaged and transported to the
WSDOH laboratory for further analysis.

17. |The WSDOH laboratory advised the preliminary tests on the four envelopes
from the Bothell location indicated they were non explosive, non radiological, and
contained the same white powder. Lab personnel further advised that the substance was
cornstarch.

18. On October 13, 2009, Steadman was terminated from his position at Penske
Logistics for failing to provide an accurate account of his October 4-5 shift.

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19. On October 18, 2009, Kent Police Department responded to a reported
vandalism at the Seattle Times distribution site located at 6600 South 231 Street, Kent,
Washington. White spray paint had been used to write two messages. The message on
the building’s wall stated, "Fuck you 1 425 489 7067 Gary Pennock." The other message
on the nearby utility box stated, "F'uck Gary Pennock 1 425 489 7067." This facility does
not require key card access and the area painted was the only location not covered by
video surveillance. The phone number in the message belongs to Alfred Groves.

21. I showed images of two of the envelopes which contained the threat letters
to Penske's operations manager, Gary Pennock and Alfred Groves who are both familiar
with Steadman's handwriting. Both Pennock and Groves identified the handwriting on
the envelopes as being similar to Steadman's.

22. Agents compared the verbiage and handwriting on the envelopes of the
threat letter with Steadman's employment application and injury report. The handwriting
and verbiage in these documents were similar, that is, it appears individual letter
comparisons match up between Steadman's known handwriting and the threat letters. For
example, Steadman uses the capital letter "N" in his employment application 101 of 101
legible times. In one of the addressed threat letters a capital "N" was used five out of five
times. Steadman will randomly capitalize parts of words/names such as his own first
name he writes "JASON" and his last name "SteadmaN." In one white powder threat
letter the writer addresses it to "SEATtLE times." In another white powder threat letter
the writer addresses it to "SeatTLE TimES." Specific numbers, to include 6 and 8, are
also very similar. Also, on his employment application, he wrote out the name “LARRy
Bretz”. This is very similar to the name on one of the threat letters mailed to the VMF
location which was written as “LARRy Bretz”. These letters have been sent off to the
FBI Laboratory for further analysis.

23. Gary Pennock advised me that he, Alfred Groves, and another Penske
employee, Richard Halos, had recently received email confirmations, at their work email
addresses, for magazine subscriptions that they did not sign up for. The email

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confirmations list Pennock, Groves, and Halos’ work address as the location to receive
the magazines. Pennock further advised that he also received an email confirming his
membership to Gay.com which is an online dating service for homosexual males.
Pennock learned that someone, without his authorization, had set up an online account at
this website for him. Pennock is not gay.

24. [learned that on November 13, 2009, someone placed a magazine
subscription for Alfred Groves through Mags4Cheap, an online magazine subscription
service. Also, on November 13, 2009 and November 17, 2009, someone had placed a
magazine subscription for Groves through Publisher Clearing House’s online magazine
subscription service; also on November 13, 2009, a magazine subscription was made for
Richard Halso from Publisher Clearing House’s online magazine subscription service.
On November 13, 2009, at 1:03 and 1:04 am, someone had placed magazine subscriptions
for Gary Pennock with MagazineLine, an online magazine subscription service.
Steadman knew Grove’s and Pennock’s work email and work address.

25. I contacted Publisher Clearing House and learned that IP address
76.104.182.161 was used to place the two orders for Groves and Richard Halos on
November 13, 2009. This IP address also was used to open the account for the Gay.com
membership. IP address 76.104.182.161 belongs to Comcast.

26. On November 23, 2009, I learned from Comcast that on November 13,
2009, IP address 76.104.182.161 was assigned to Jennifer Steadman and listed a service
address of 12316 28th Avenue N.E., Apt. 101, Seattle, Washington.

27. [have confirmed that the defendant resides at 12316 28th Avenue N.E.,
Apt. 101, Seattle, Washington, and that Jennifer Steadman is his wife.

28. On November 24, 2009, myself and other FBI agents served a search
warrant at the defendant, Jason Steadman’s, residence, 12316 28th Avenue N.E., Apt 101,
Seattle, Washington. The defendant was present and gave consent to search his personal
computer. The computer was taken and has been imaged.

29. While at the residence, I spoke with the defendant’s wife, Jennifer

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Steadman who stated that at some time either shortly before or after news reports of the

2 || threat letters to the Seattle Times, Ms. Steadman noticed that their box of cornstarch,
3 || which was relatively new, had been thrown in the garbage.
4 30. Also, during the search the FBI recovered a can of white spray paint.
5 31. Based upon the above, I believe there is probable cause to believe that the
6 || defendant, Jason Steadman, committed the offenses of Sending Hoax letters and Mailing
7 || Threatening Communications, in violation of Title 18, United States Code, Section 1038
8 || and Section 876, respectively.
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° EF |
K. ERIKAZENSE®, Complainant
i Special Agent, F deral Bureau of Investigation
12
13 Based on the Complaint and Affidavit sworn to before me, and subscribed in my
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presence, the Court hereby finds that there is probable cause to believe the Defendant

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committed the offense set forth in the Complaint.

Dated this ZS* day of November, 2009.

Stace? Boale—

S P. DONOHUE
ted States Magistrate Judge

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